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                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT NEW YORK


CHARON COINS, LLC

                Plaintiff,
        v.
                                                    Civil Action No. 7:21-cv-02777-VB
SONEA GRIFFITHS,
,

           Defendant.
_________________________________/


                                 CERTIFICATE OF SERVICE

        I hereby certify that I served this Court’s June 21, 2021 Order scheduling a status conference

for June 25, 2021 at 4:00 PM by electronic mail to Defendant Sonea Griffiths at the following address:

soneasing@gmail.com. I also sent a copy of the Order by Priority Mail to Ms. Griffiths, USPS

Tracking No. 9410 8036 0138 2707 66 as a precaution since Ms. Griffiths has not responded to any

prior emails.

June 22, 2021                                         Respectfully submitted,


                                                      /s/ Steven M. Oster
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